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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY


 THE HOMESOURCE, CORP.,               Civil Action No.: 1:18-cv-11970

                   Plaintiff,         Hon. Eduardo C. Robreno (EDPA)

       v.                             Hon. Karen M. Williams

 RETAILER WEB SERVICES, LLC,          Motion Day: March 16, 2020
 et al.,

                   Defendants.


     DEFENDANT RETAILER WEB SERVICES, LLC’S NOTICE OF MOTION FOR
              CONTEMPT AND SANCTIONS AGAINST PLAINTIFF

       PLEASE TAKE NOTICE that on March 16, 2020, or at an earlier

 date and time to be determined by the Court, undersigned counsel

 for Defendant Retailer Web Services, LLC, shall move before the

 Honorable Karen M. Williams, or any judge sitting in her stead

 in courtroom 5C of the U.S. District Court for the District of

 New Jersey, 4th & Cooper Streets, Camden, New Jersey, for an

 Order holding Plaintiff The HomeSource, Corp. in contempt and

 granting sanctions for violating this Court’s October 16, 2019

 Order   [Dkt.   129]   and   failing   to    comply    with      its    discovery

 obligations under Fed. R. Civ. P. 26 and 34, and

       PLEASE    TAKE   FURTHER     NTOICE    that    in     support     of   this

 application,    undersigned      counsel    will    reply   on    the    attached
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 Memorandum       in   Support,   together     with    any    exhibits    attached

 thereto; and

       PLEASE      TAKE   FURTHER   NOTICE      that    a    proposed    Order    is

 simultaneously being filed herewith; and

       PLEASE TAKE FURTHER NOTICE that a copy of this notice and

 motion    were    served   via   ECF   on    this    date   on   all   counsel   of

 record.

 Dated: February 10, 2020                    Respectfully submitted,

                                             /s/ Matthew A. Lipman
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                                           Counsel for Defendant Retailer
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